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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

NETCHOICE, LLC d/b/a NetChoice,           )
a 501(c)(6) District of Columbia organization,
                                          )
                                          )
                     and                  )
                                          )
COMPUTER & COMMUNICATIONS                 )
INDUSTRY ASSOCIATION d/b/a CCIA, a        )
501(c)(6) non-stock Virginia Corporation, )      Civil Action No. 1:21-cv-00840-RP
                                          )
       Plaintiffs,                        )
                                          )
       v.                                 )
                                          )
KEN PAXTON, in his official capacity as   )
Attorney General of Texas                 )
                                          )
       Defendant.                         )
_________________________________________ )

              PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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                                       INTRODUCTION

       Under the First Amendment, no government may compel a privately owned website or

application to disseminate speech and interfere with its editorial discretion over its own platform.

E.g., Hurley v. Irish-Am. Gay, Lesbian & Bisexual Group of Boston, 515 U.S. 557, 581 (1995);

Pacific Gas & Elec. Co. v. Pub. Utils. Comm’n of California, 475 U.S. 1, 12 (1986) (plurality op.)

(“PG&E”); Miami Herald Pub. Co. v. Tornillo, 418 U.S. 241, 258 (1974). Likewise, under the

Communications Decency Act, 47 U.S.C. § 230 (“Section 230”), no state government may impose

liability on privately owned websites or applications for moderating content on their platforms.

And under the Commerce Clause, no state government may extraterritorially regulate Internet

communications. E.g., Healy v. Beer Inst., Inc., 491 U.S. 324, 336 (1989).

       Yet Texas House Bill 20 (“H.B. 20”) does all three. H.B. 20 prohibits “censorship” based

on “viewpoint”—and since almost all expression online has a viewpoint, H.B. 20 would sweep-

ingly ban covered online platforms from moderating user-provided content. Thus, it would compel

those platforms to disseminate anything and everything with a “viewpoint,” including pro-Nazi

speech, medical misinformation, terrorist propaganda, and foreign government disinformation. It

exposes those platforms to the exact liability that Congress protected against in enacting Section

230. And it both regulates how the targeted websites disseminate speech to and from users around

the globe—regardless of their connection to Texas—and specifically requires the websites to con-

tinue doing business in Texas.

       The Northern District of Florida recently enjoined a similar Florida law based upon these

First Amendment and Section 230 violations. NetChoice, LLC v. Moody, 2021 WL 2690876, *12

(N.D. Fla. June 30, 2021), appeal pending, 11th Cir. No. 21-12355. The court found that the Flor-

ida law would have made the covered platforms “unacceptable—and indeed useless—to most us-

ers.” Id. at *7. H.B. 20 is even broader than the Florida law, applying to all speech and viewpoints


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on platforms, globally. For these reasons, Plaintiffs respectfully request that the Court preliminar-

ily enjoin the Texas Attorney General from enforcing this unconstitutional and preempted law

against Plaintiffs’ members before it takes effect on December 2, 2021. See Fed. R. Civ. P. 65.

                                         BACKGROUND
        A.      Plaintiffs’ members include “social media platforms” covered by H.B. 20 that
                exercise editorial discretion over their own websites and applications.

        H.B. 20 covers “social media platforms”—which H.B. 20 defines as any “Internet website

or application” that (1) “functionally has more than 50 million active users in the United States in

a calendar month”; is (2) “open to the public”; (3) “allows a user to create an account”; and (4) “en-

ables users to communicate with other users for the primary purpose of posting information, com-

ments, messages, or images.” Tex. Bus. & Com. Code §§ 120.001(1), .002(b); Tex. Civ. Prac. &

Rem. Code § 143A.003(c).1 H.B. 20 thus covers websites and applications operated by Plaintiffs’

trade-association members—including Facebook, Instagram, Pinterest, TikTok, Twitter, Vimeo,

WhatsApp, and YouTube. See Ex. A ¶¶ 5-6 (Decl. of CCIA); Ex. B ¶¶ 4-5 (Decl. of NetChoice,

LLC).

        To operate their services, Plaintiffs’ members exercise editorial discretion over the presen-

tation of content on their platforms. Ex. A ¶¶ 9-21; Ex. B. ¶ 11; Ex. C ¶¶ 5-17 (Decl. of YouTube);

Ex. D ¶¶ 5, 8, 10, 17-23 (Decl. of Facebook). The platforms’ content-moderation policies and

enforcement efforts embody the types of communities and social discourse they want to foster,

maintain, and provide. Ex. A ¶¶ 19, 22-27; Ex. C ¶ 7; Ex. D. ¶ 8. In other words, the platforms’

content moderation “is an important way that online services express themselves and effectuate



        1
          “Users” includes any “person who posts, uploads, transmits, shares, or otherwise pub-
lishes or receives content through a social media platform” and “a person who has a social media
platform account that the social media platform has disabled or locked.” Tex. Bus. & Com. Code
§ 120.001(2).


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their community standards.” Ex. A ¶ 19. These content-moderation and trust-and-safety efforts are

necessary to ensure that the platforms are hospitable forums for their users. E.g., Ex. B ¶¶ 8, 14;

Ex. C ¶ 9; Ex. D ¶ 8; Ex. E ¶ 5 (Decl. of LGBT Technology Institute).

       Each covered platform provides its users a distinctive experience—according to its own

policies formalized in terms of service and community standards. And each has expended vast

time, resources, and human effort to develop and enforce these policies for moderating and dis-

seminating staggering amounts of content submitted by billions of users. Ex. A ¶ 13; Ex. C ¶ 57;

Ex. D ¶¶ 4, 8. This user-submitted expression is displayed on each platform’s distinctive user in-

terface next to its branding, and sometimes next to the platform’s own direct expression.

       Platforms use a combination of content-moderation tools to determine whether and how

user content is displayed on their platforms. These tools reflect a range of editorial judgements,

from what kind of content the platforms permit (or forbid) to how that content is disseminated to

individual users. The platforms apply their terms and policies using both human and algorithmic

processes, reflecting the platforms’ judgments about which speech to display. Ex. A ¶ 14; Ex. C

¶¶ 5-8, 27, 40-45; Ex. D ¶¶ 10, 14. Algorithmic processes simply allow the platforms to apply their

judgments on a vast scale to billions of pieces of user-submitted expression. Ex. A ¶¶ 9, 31-32;

Ex. C ¶¶ 24-27; Ex. D ¶ 14.

       Applying their policies, Plaintiffs’ members seek to ensure that disseminated user-submit-

ted content adheres to their platforms’ terms and guidelines. Ex. A ¶ 13; Ex. C ¶¶ 6-7, 12-13, 20-

23; Ex. D ¶¶ 11, 13-14. In some cases, platforms may also bar particular users for failing to comply

with their policies. Ex. C ¶ 13; accord NetChoice, 2021 WL 2690876, at *2. Just as other Internet

forums dedicated to specific communities establish and enforce the standards for discourse, the

covered platforms here also have their own distinctive policies concerning what expression they




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want, and do not want, to disseminate. Enforcing those policies is critical to the experience that

the platforms provide their users. E.g., Ex. C ¶¶ 5-8; Ex. D ¶¶ 8-10. The platforms have always

enforced such policies, which have evolved over time to reflect the platforms’ evolving judgments

regarding new threats to the safety of the platforms and their users. Ex. C ¶¶ 21-23; Ex. D ¶ 11.

       Covered platforms (like other websites and applications) therefore routinely refuse to dis-

seminate spam, criminal speech, pornography, hate speech, disinformation, and other content that

these platforms deem objectionable. Ex. A ¶¶ 11, 20; Ex. B ¶ 15; Ex. C ¶ 18; Ex. D ¶¶ 14-16; Ex.

F (Decl. of Stop Child Predators) ¶¶ 5-9 (outlining how platforms work to identify and remove

Child Sexual Abuse Material (“CSAM”)); Ex. G ¶¶ 4-6 (Decl. of Technology Network). Without

such actions, users would be flooded with abusive and objectionable material, which would drown

out the unobjectionable content and make the platforms inhospitable to and unsafe for their users.

Ex. A ¶ 12; Ex. B ¶ 14; Ex. D ¶ 4; Ex. E ¶¶ 6-12 (harmful effects on the LGBTQ community); Ex.

F ¶¶ 8-16 (harmful effects on efforts to curtail CSAM); see NetChoice, 2021 WL 2690876, at *7

(“In the absence [of] curation, a social-media site would soon become unacceptable—and indeed

useless—to most users.”). For instance, during 6 months in 2018 alone, Facebook, Google, and

Twitter took action on over 5 billion accounts or user submissions—including 3 billion cases of

spam, 57 million cases of pornography, 17 million cases of content regarding child safety, and 12

million cases of extremism, hate speech, and terrorist speech. Ex. B ¶ 15. Within these categories

of objectionable speech, the platforms must exercise judgment about what constitutes “hate

speech,” for instance. Ex. A ¶¶ 23, 25; Ex. C ¶ 35; Ex. D ¶ 13; Ex. E ¶¶ 8-10. And beyond these

categories, platforms must make similar evaluations about what other kinds of content to exclude

(such as medical misinformation) and how to define that content. Ex. C ¶¶ 28-30; Ex. D ¶¶ 10, 16.

       Platforms also prioritize, arrange, recommend, and otherwise make content accessible in




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ways that accord with the platforms’ design. Ex. B ¶ 11; Ex. D ¶¶ 4-5.2 Generally, the platforms

provide their users with unique products, compiling user-submitted content curated according to

the platforms’ judgments about what content the user would like to see and how that user would

like the content displayed. Ex. C ¶¶ 16-17; Ex. D ¶¶ 4-5. In other words, platforms often “mak[e]

more readily available to a user content the provider believes the user will most wish to see.”

NetChoice, 2021 WL 2690876, at *3. This necessarily means that other content will be less readily

available. In addition to reflecting the platforms’ respective policies, these functions are necessary

for the platforms to operate. Without content curation, there would be no effective way to deliver

the content that users want. E.g., Ex. A ¶ 47; Ex. D ¶ 4.

       Platforms also engage in their own affirmative speech. Ex. A ¶ 17; Ex. C ¶ 9; Ex. D ¶¶ 13,

27. They append warning labels, disclaimers, links to related sources, and other kinds of commen-

tary to user-submitted expression that the platforms believe are necessary based on their judg-

ments. Id.; Ex. C ¶ 16. For example, platforms may warn their users that certain images may be

upsetting or graphic. Ex. A ¶ 17.a. Or platforms may warn their users that certain information has

not been verified by official sources or may contain misinformation. Id. ¶ 17.c; Ex. C ¶ 16; Ex. D

¶ 17. Beyond the expression inherent in the speech itself, the decision of whether, when, and how

to engage in such speech reflects those platforms’ terms and community standards.

       Finally, the platforms also provide different experiences to different audiences. For in-

stance, the platforms may restrict certain content to people of certain ages, reflecting the platforms’

judgments that different products are appropriate for users of different ages. Ex. A ¶ 15; Ex. C

¶¶ 40, 53-54. And the platforms provide tools so users can further curate their own experiences

(for example, seeing more content about sports or from family members). Ex. A ¶ 16; Ex. D ¶ 18.



       2
           Even the choice to present content chronologically is an editorial choice.


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These tools often require the platform to categorize certain kinds of user-submitted content. E.g.,

Ex. A ¶¶ 15-16.

       Without these policies, the platforms would offer a very different—and, to most users, a

vastly inferior—set of experiences. The platforms would be full of hate speech and misinformation

(not to mention spam, pornography, and the like), which would be presented no differently than

other unobjectionable speech (assuming that unobjectionable speech would not be entirely

drowned out by the objectionable speech). Users would not have the benefit of the platforms’

judgments (sometimes relying on independent fact checkers) that certain content may be false or

misleading, or that certain content might be graphic or otherwise upsetting.

       B.      H.B. 20 was enacted for the express purpose of stifling platforms’ editorial dis-
               cretion.

       H.B. 20 was enacted to address covered platforms’ purported political bias in how they

foster, maintain, and provide their respective communities on their platforms for their users. On

March 4, 2021, during the Texas Legislature’s regular biennial session, State Senator Bryan

Hughes and Governor Greg Abbott introduced a precursor bill to H.B. 20, announcing on Twitter

that this bill would “allow Texans to participate on the virtual public square free from Silicon

Valley censorship.” Senator Bryan Hughes (@SenBryanHughes), Twitter (Mar. 5, 2021, 11:48

PM), https://bit.ly/3zb2eSK. The next day, Governor Abbott supported this bill on Twitter by

tweeting “Silencing conservative views is un-American, it’s un-Texan and it’s about to be illegal

in Texas.” Greg Abbott (@GregAbbott_TX), Twitter (Mar. 5, 2021, 9:35 PM),

https://bit.ly/3mndV5e. After the Senate passed its bill during the first special session, Senator

Hughes tweeted, “A handful of West Coast elites cannot be allowed to control our right to free

speech.” Senator Bryan Hughes (@SenBryanHughes), Twitter (July 14, 2021, 3:35 PM),




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https://bit.ly/2VKMyXp. The Legislature failed to pass this or similar bills during the regular ses-

sion and the first special legislative session.

        On August 5, 2021, the Governor called a second special legislative session, directing the

Legislature to “consider and act upon . . . [l]egislation safeguarding the freedom of speech by pro-

tecting social-media and email users from being censored based on the user’s expressed view-

points, including by providing a legal remedy for those wrongfully excluded from a platform.”

Proclamation by the Governor of the State of Texas (Aug. 5, 2021), https://bit.ly/37uTuuw. Sena-

tor Hughes again introduced his version of the bill (“Senate Bill 5”) and announced the bill on

Twitter: “Texans must be able to speak without being censored by West Coast oligarchs. I filed

#SB5 to give Texans a path to hold Big Tech accountable and get their voice back online.” Senator

Bryan Hughes (@SenBryanHughes), Twitter (Aug. 9, 2021, 5:34 PM), https://bit.ly/3lQTpJY.

Representative Cain introduced the substantially similar House Bill 20, which the House passed

after declining to adopt amendments that would alleviate some of the burdens imposed by the Bill.

The Senate then passed House Bill 20 after amending the Bill’s definition of “censor” to match

Senator Hughes’ original bill text.

        After signing House Bill 20 into law on September 9, 2021, Governor Abbott stated,

“[T]here is a dangerous movement by social media companies to silence conservative viewpoints

and ideas. That is wrong, and we will not allow it in Texas.” Office of the Texas Governor | Greg

Abbott, Governor Abbott Signs Law Protecting Texans From Wrongful Social Media Censorship

(Sept. 9, 2021), https://bit.ly/38ZEkxQ. During the signing ceremony, Governor Abbott said, “It

is now law that conservative viewpoints in Texas cannot be banned on social media.” Office of

the Governor Greg Abbott (@TexasGovernor), Facebook, WATCH: Signing House Bill 20 into

Law—Relating to censorship on social media platforms (Sept. 9, 2021), https://bit.ly/3z0Ysub.




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H.B. 20 is set to take effect “the 91st day after the last day of the legislative session”—that is,

December 2, 2021. H.B. 20 § 10.

       Just like Florida’s similar unconstitutional law, H.B. 20 “imposes sweeping requirements

on some but not all social-media providers.” NetChoice, 2021 WL 2690876, at *1. By targeting

platforms with at least 50 million monthly active U.S. users, the Bill singles out a minority of the

Internet’s most-used websites and applications for disfavored treatment. See Tex. Bus. & Com.

Code §§ 120.001(1), .002(b); Tex. Civ. Prac. & Rem. Code § 143A.001(4). H.B. 20’s definition

of “social media platform” covers not just Facebook and YouTube, but other “West Coast,” “Sil-

icon Valley” sites like Reddit and Pinterest. See Tex. Bus. & Com. Code § 120.001(1); Tex. Civ.

Prac. & Rem. Code § 143A.001(4). Yet the definition excludes all sorts of smaller social media

platforms—like Parler, Gettr, Gab, and Rumble, which purport to appeal to more conservative

users. Even so, all these noncovered platforms moderate the content they display in some form.

Ex. A ¶ 12 n.26.

       H.B. 20 also expressly excludes certain favored businesses: (1) Internet service providers;

(2) electronic mail providers; and (3) websites or applications that “consist[] primarily of news,

sports, entertainment, or other information or content that is not user generated but is preselected

by the provider” where user chats and comments are “incidental to” the content posted by the

website or application. Tex. Bus. & Com. Code § 120.001(1)(A)-(C).

       Section 7 of H.B. 20 directly restricts covered platforms’ editorial discretion over all ex-

pression on their respective platforms—not just expression submitted by Texas users in Texas. By

prohibiting covered platforms from moderating content based on “viewpoint” (which is not de-

fined) in “expression,” H.B. 20 interferes with the platforms’ messages about the communities that




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they hope to foster, maintain, and provide. Specifically, covered platforms:

        may not censor [i.e., “block, ban, remove, deplatform, demonetize, de-boost, re-
        strict, deny equal access or visibility to, or otherwise discriminate against expres-
        sion”] a user, a user’s expression, or a user’s ability to receive the expression of
        another person based on: (1) the viewpoint of the user or another person; [or] (2) the
        viewpoint represented in the user’s expression or another person’s expression[.]

Tex. Civ. Prac. & Rem. Code §§ 143A.001(1); .002. These prohibitions purportedly do not apply

if the platform “is specifically authorized to censor by federal law”—but H.B. 20 makes no men-

tion of what this provision covers, and H.B. 20 does not define “specifically authorized.” Id.

§ 143A.006(a)(1). H.B. 20 also does not define vague terms such as “de-boost” and “deny equal

access or visibility.”

        After establishing this broad prohibition, H.B. 20 then carves out content-based exceptions

that allow platforms to engage in a limited amount of “viewpoint” discrimination that H.B. 20

favors. First, covered platforms may moderate content that “is the subject of a referral or request

from an organization with the purpose of preventing the sexual exploitation of children and pro-

tecting survivors of sexual abuse from ongoing harassment.” Id. § 143A.006(a)(2). Second, cov-

ered platforms also may moderate content that “directly incites criminal activity or consists of

specific threats of violence targeted against a person or group because of their race, color, disabil-

ity, religion, national origin or ancestry, age, sex, or status as a peace officer or judge.” Id.

§ 143A.006(a)(3).

        Whenever a user believes a platform has improperly “censored” content based on “view-

point,” the platform may be held civilly liable, required to disseminate such content, and made

responsible for the user’s attorney’s fees. Id. § 143A.007(b)(1). Additionally, H.B. 20 grants courts

the authority to pursue “all lawful measures to secure immediate compliance with the order, in-

cluding daily penalties sufficient to secure immediate compliance” with any court order. Id.




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§ 143A.007(c) (emphasis added). Furthermore, H.B. 20 grants the Texas Attorney General author-

ity to bring a civil action for injunctive relief for any violation and any “potential violation,” along

with fee-shifting and compensation for the Attorney General’s “reasonable investigative costs.”

Id. § 143A.008(b). This anti-editorial-discretion provision “applies only to a cause of action that

accrues on or after the effective date of this Act.” H.B. 20 § 9.3

       H.B. 20’s prohibition on editorial judgment contains three more extraordinary provisions.

First, because H.B. 20 covers both contributing and viewing content, H.B. 20 attempts to regulate

all content on covered platforms—regardless of where in the world and by whom such content is

posted. Tex. Civ. Prac. & Rem. Code § 143A.002(a) (covering a “user’s ability to receive the ex-

pression”). Second, a platform cannot seek to avoid these requirements by limiting its interaction

with users in the state. Id. § 143A.002(a)(3) (preventing “censorship” based on “a user’s geo-

graphic location in this state or any part of this state”). In other words, H.B. 20 requires covered

platforms to do business in the state—and according to the state’s terms. Third, H.B. 20 does not

allow users to waive H.B. 20’s “protections” if those users prefer a moderated and curated experi-

ence. Id. § 143A.003. Such waivers are “void as unlawful and against public policy.” Id.

       Finally, the Bill provides that a covered social media platform may “authoriz[e]” or “facil-

itat[e] a user’s ability to censor specific expression on the user’s platform or page at the request of

that user.” Id. § 143A.006(b). It is not clear how far this provision extends. For instance, if a user

wants to block hate speech that H.B. 20 otherwise compels platforms to disseminate as a protected

“viewpoint,” H.B. 20 is not clear whether the covered social media platform may label certain

posts as hate speech to “facilitate[e]” its users’ desires to avoid hate speech.



       3
          It is not clear whether this provision allows people who “ha[ve] a social media platform
account that the social media platform has disabled or locked” before the effective date to sue to
reinstate their account. Tex. Civ. Prac. & Rem. Code § 143A.001(6).


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       Even beyond H.B. 20’s outright prohibition on editorial functions in Section 7, Section 2

of H.B. 20 also imposes a slew of onerous disclosure and operational requirements burdening the

platforms’ enforcement of its policies. These reporting and operational requirements will require

substantial investment. And even where the requirements are not onerous, they are vague—invit-

ing arbitrary and discriminatory enforcement from the Texas Attorney General.

       First, a covered platform must provide “public disclosures” about how the platform oper-

ates in a manner “sufficient to enable users to make an informed choice regarding the purchase of

or use of access to or services from the platform.” Tex. Bus. & Com. Code § 120.051(b). H.B. 20

does not provide an exhaustive list of disclosures that covered platforms must make, ostensibly

permitting lawsuits when platforms fail to disclose un-specified information. Instead, H.B. 20

identifies a non-exhaustive list of information: Among other information, each platform must dis-

close how it “(1) curates and targets content to users; (2) places and promotes content, services,

and products, including its own content, services, and products; (3) moderates content; [and]

(4) uses search, ranking, or other algorithms or procedures that determine results on the plat-

form[.]” Id. § 120.051(a)(1)-(4). Even within these identified categories, H.B. 20 does not explain,

for instance, how a platform could satisfy explaining how it “moderates content.”

       Second, a covered platform must “publish an acceptable use policy”—that explains what

content the platform will allow, how the platform will ensure compliance with the policy, and how

users can inform the platform about noncompliant content. Id. § 120.052. H.B. 20 does not explain

what will make such policies sufficient to “reasonably inform” or “explain” to their users the re-

quired disclosures.

       Third, a covered platform must publish a “biannual transparency report” that requires in-

formation about the platform’s enforcement of their policies. Id. § 120.053(a). Specifically, the




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covered platforms must explain in painstaking detail:

            ● “the total number of instances in which the social media platform was alerted to
              illegal content, illegal activity, or potentially policy-violating content” and by what
              means (i.e., by users, employees, or automated processes);
            ● how often the platform “took action” with regard to such content including “content
              removal,” “content demonetization,” “content deprioritization,” “the addition of an
              assessment to content,” “account suspension,” “account removal,” and “any other
              action” that accords with the acceptable use policy, “categorized by” “the rule vio-
              lated” and “the source for the alert”;4
            ● “the country of the user who provided the content for each instance described”
              above;
            ● “the number of coordinated campaigns” (an undefined and unexplained term);
            ● “the number of instances in which a user appealed the decision to remove the user’s
              potentially policy-violating content”;
            ● “the percentage of appeals . . . that resulted in the restoration of content”;
            ● “a description of each tool, practice, action, or technique used in enforcing the ac-
              ceptable use policy.”

Id. § 120.053(a)(1)-(7), (b). These reporting requirements apply to potentially billions of pieces of

expressive content submitted to covered platforms.

       Fourth, covered platforms must provide for a comprehensive “complaint system to enable

a user to submit a complaint in good faith and track the status of the complaint”—regarding either

a report of violative content or “a decision made by the social media platform to remove content

posted by the user.” Id. § 120.101. For reports of illegal content, the covered platform must “make

a good faith effort to evaluate the legality of the content or activity within 48 hours of receiving

the notice,” excluding weekends. Id. § 120.102. Because of the incredible volume of content sub-

mitted to the covered platforms, this complaint system could flood covered platforms with requests

to which the platforms must respond within a very short period of time. The complaint process

does not account for the possibility that platforms will be deluged by complaints made in bad faith.




       4
           Specifically, H.B. 20 identifies governments, users, “internal automated detection
tool[s],” “coordination with other social media platforms,” and “persons employed by or contract-
ing with the platform” as potential sources. Tex. Bus. & Com. Code § 120.053(b)(2).


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       Fifth, covered platforms must offer a notice and appeal system for any content that plat-

forms decide to remove (assuming H.B. 20 allows the platform to remove the content notwith-

standing its outright prohibition on doing so). Subject to limited exceptions, every time a covered

platform “removes” content, it must give the user (1) a notice of the removal; (2) an opportunity

to appeal; and (3) a written explanation of the decision on appeal, including an explanation for any

reversal. Id. § 120.103. H.B. 20’s mandated appeal process allows a user-initiated appeal—in

which the platform must “review the [removed] content,” “determine whether the content adheres

to the platform’s acceptable use policy,” and “take appropriate steps” (including providing any

notice described above) within 14 days (excluding weekends). Id. § 120.104. This process subjects

the covered platforms to an onerous requirement to respond to appeals of exercises of the plat-

forms’ everyday judgments.

       The Texas Attorney General has authority to enforce these disclosure and operational re-

quirements, and may collect attorney’s fees and “reasonable investigative costs” if successful in

obtaining injunctive relief. Id. § 120.151. The Attorney General thus has substantial discretion to

sue covered platforms for purported violations. The Attorney General may sue on the purported

basis that a covered platform did not provide certain unenumerated information in its required

disclosures, rendering the platform’s public disclosure “[in]sufficient to enable users to make an

informed choice regarding the purchase of or use of access to or services from the platform.” Id.

§ 120.051(b). Similarly, the Attorney General ostensibly has authority to sue a covered platform

because he believes the platform has miscategorized data in its biannual transparency report.

                                          ARGUMENT

       Plaintiffs are entitled to a preliminary injunction blocking the Texas Attorney General’s

enforcement of H.B. 20 because they meet the preliminary-injunction standard: “(1) a substantial




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likelihood of success on the merits; (2) a substantial threat of irreparable harm if the injunction

does not issue; (3) that the threatened injury outweighs any harm that will result if the injunction

is granted; and (4) that the grant of an injunction is in the public interest.” Gonzales v. Mathis

Indep. Sch. Dist., 978 F.3d 291, 294 (5th Cir. 2020) (quotation marks and citation omitted).

I.     H.B. 20 violates the First Amendment.

       H.B. 20 violates the First Amendment rights of Plaintiffs’ members for multiple reasons.

H.B. 20 compels privately owned platforms to disseminate third-party content and interferes with

their editorial discretion over their platforms. It discriminates based on content and speaker. And

it is unconstitutionally vague. H.B. 20 is unconstitutional no matter which level of heightened

scrutiny applies. NetChoice, 2021 WL 2690876, at *11.

       A.      The First Amendment guarantees privately owned Internet platforms the
               right to exercise editorial discretion over the content they display.

       The Supreme Court recognized a generation ago that “the content on the Internet is as

diverse as human thought,” and there is “no basis for qualifying the level of First Amendment

scrutiny that should be applied to this medium.” Reno v. ACLU, 521 U.S. 844, 870 (1997) (internal

citation omitted). The “dissemination of information” through an Internet website or application,

no less than through other media, is “speech within the meaning of the First Amendment.” Sorrell

v. IMS Health Inc., 564 U.S. 552, 570 (2011); see Brown v. Entm’t Merchants Ass’n, 564 U.S.

786, 792 n.1 (2011) (“distributing” speech is protected); Bartnicki v. Vopper, 532 U.S. 514, 527

(2001) (“if the acts of ‘disclosing’ and ‘publishing’ information do not constitute speech, it is hard

to imagine what does fall within that category”) (citation, alteration, and quotation marks omitted).

In fact, the Internet has provided virtually limitless new opportunities “for individuals to publish

their views . . . than existed before” the Internet. NetChoice, 2021 WL 2690876, at *7. That is

precisely why “the Internet can hardly be considered a ‘scarce’ expressive commodity. It provides



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relatively unlimited, low-cost capacity for communication of all kinds.” Reno, 521 U.S at 870.

       Privately owned Internet platforms have a First Amendment right to moderate user-sub-

mitted content disseminated on their platforms. E.g., Manhattan Cmty. Access Corp. v. Halleck,

139 S. Ct. 1921, 1932 (2019) (recognizing “private entities’ rights to exercise editorial control over

speech and speakers on their properties or platforms”); Hurley, 515 U.S. at 581; PG&E, 475 U.S.

at 12 (plurality op.); Tornillo, 418 U.S. at 258. As addressed above, Plaintiffs’ members are not

mere passive conduits that simply transmit expression of their users. Rather, they provide unique

experiences on their respective platforms that are realized through their terms of service and their

content-moderation policies. That “editorial function itself is an aspect of ‘speech’” protected by

the First Amendment. Denver Area Educ. Telecomms. Consortium, Inc. v. FCC, 518 U.S. 727,

737-38 (1996) (plurality op.). Furthermore, the Constitution protects not only the editorial process

but also the dissemination and “presentation of an edited compilation of speech generated by other

persons.” Hurley, 515 U.S. at 570 (citation omitted); see also Arkansas Educ. TV Comm’n v.

Forbes, 523 U.S. 666, 674 (1998) (when a party “exercises editorial discretion in the selection and

presentation” of content, “it engages in speech activity” protected by the First Amendment).

       In Tornillo, the Supreme Court confirmed that the First Amendment protects the editorial

discretion of private entities disseminating speech, including the fundamental “choice of material”

disseminated. 418 U.S. at 258. The state law in Tornillo required newspapers to publish political

candidates’ responses to criticism. Id. at 250, 258. The Court invalidated this law because “the

choice of material to go into a newspaper, and the decisions made as to limitations on the size and

content of the paper, and treatment of public issues and public officials—whether fair or unfair—

constitute the exercise of editorial control and judgment” protected by First Amendment. Id. at 258

(emphasis added). The mandatory “right of reply” was constitutionally indistinguishable from a




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law “forbidding [a newspaper] to publish specified matter.” Id. at 256. At bottom, the law at issue

in Tornillo violated “the First Amendment because of its intrusion into the function of editors.” Id.

at 258.

          Similarly, in Hurley, the Supreme Court held that the government may not use equal-access

laws to “alter the expressive content” of private parties’ platforms. 515 U.S. at 572; id. at 573 (no

law may “ha[ve] the effect of declaring the sponsors’ speech itself to be the public accommoda-

tion” subject to government restriction). Specifically, the Court held that the government could not

compel a privately operated parade—over which the organizers decided which floats to include—

to include a float featuring a message with which the parade operators disagreed. Id. at 572-73.

The Court reiterated “that a speaker has the autonomy to choose the content of his own message.”

Id. at 573. “Indeed this general rule”—shared “by business corporations generally and by ordinary

people engaged in unsophisticated expression”—“that the speaker has the right to tailor the speech,

applies not only to expressions of value, opinion, or endorsement, but equally to statements of fact

the speaker would rather avoid.” Id.

          Even if the platforms may not always present a singular “particularized message” to their

users, the First Amendment does not privilege singular expression over compilations of diverse

expression. Hurley, 515 U.S. at 569, quoted in, e.g., Masterpiece Cakeshop, Ltd. v. Colorado C.R.

Comm’n, 138 S. Ct. 1719, 1741-42 (2018) (Thomas, J., concurring). Likewise, Plaintiffs’ members

retain their First Amendment rights over their platforms even if they do not adopt user-submitted

content as their own or agree with every user post on their sites: “[A] private speaker does not

forfeit constitutional protection simply by combining multifarious voices” even if it is “rather le-

nient in admitting participants.” Hurley, 515 U.S. at 569. “Nor, under [the Supreme Court’s] prec-

edent, does First Amendment protection require a speaker to generate, as an original matter, each




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item featured in the communication.” Id. at 570.

       The Northern District of Florida thus recently recognized that laws that interfere with plat-

forms’ editorial discretion violate their First Amendment rights, as have other courts. E.g.,

NetChoice, 2021 WL 2690876, at *9; Isaac v. Twitter, 2021 WL 3860654, at *7 (S.D. Fla. Aug.

30, 2021) (Twitter has “First Amendment right to decide what to publish and what not to publish

on its platform”) (citation omitted); Davison v. Facebook, Inc., 370 F. Supp. 3d 621, 629 (E.D.

Va. 2019) (“Facebook has, as a private entity, the right to regulate the content of its platforms as

it sees fit.”), aff’d, 774 F. App’x 162 (4th Cir. 2019); e-ventures Worldwide, LLC v. Google, Inc.,

2017 WL 2210029, at *4 (M.D. Fla. Feb. 8, 2017) (“Google’s [editorial decisions] are the same as

decisions by a newspaper editor[.] . . . The First Amendment protects these decisions, whether they

are fair or unfair, or motivated by profit or altruism.”); La’Tiejira v. Facebook, Inc., 272 F. Supp.

3d 981, 991 (S.D. Tex. 2017) (Facebook has “First Amendment right to decide what to publish

and what not to publish on its platform”); Zhang v. Baidu.com, Inc., 10 F. Supp. 3d 433, 437, 440

(S.D.N.Y. 2014) (“Government may not interfere with the editorial judgments of private speakers

on issues of public concern”; “‘[t]here can be no disagreement’ that [a search engine] is ‘engage[d]

in and transmit[s] speech”; the search engine “‘exercise[s] editorial discretion’ over its search re-

sults”) (citations omitted; alterations in original); Langdon v. Google, Inc., 474 F. Supp. 2d 622,

629-30 (D. Del. 2007) (Google has First Amendment right not to publish unwanted ads); see also

Publius v. Boyer-Vine, 237 F. Supp. 3d 997, 1008 (E.D. Cal. 2017) (“Hoskins has a First Amend-

ment right to distribute and facilitate protected speech on [his] site.”).5



       5
         In fact, H.B. 20 itself recognizes that a covered social media platform engages in editorial
discretion in how it “(1) curates and targets content to users; (2) places and promotes content,
services, and products, including its own content, services, and products; (3) moderates content;
[and] (4) uses search, ranking, or other algorithms or procedures that determine results on the
platform[.]” Tex. Bus. & Com. Code § 120.051(a)(1)-(4) (listing topics for disclosure).


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       The Constitution accordingly protects covered Internet platforms from having to dissemi-

nate third-party content they do not wish to distribute. “For corporations as for individuals, the

choice to speak includes within it the choice of what not to say,” so “compelling a private corpo-

ration to provide a forum for views other than its own may infringe the corporation’s freedom of

speech.” PG&E, 475 U.S. at 9, 16 (plurality op.); see Tornillo, 418 U.S. at 256 (“[A]ny such com-

pulsion to publish that which ‘reason tells them should not be published’ is unconstitutional.”).

Simply put, just as the government may not tell a newspaper, parade, or bookstore what speech it

must disseminate, it also “may not . . . tell Twitter or YouTube what videos to post; or tell Face-

book or Google what content to favor.” United States Telecom Association v. FCC, 855 F.3d 381,

392 (D.C. Cir. 2017) (Kavanaugh, J., dissenting from denial of rehearing en banc); see also Den-

ver, 518 U.S. at 816 (Thomas, J., concurring in judgment in part and dissenting in part) (govern-

ment cannot “force the editor of a collection of essays to print other essays on the same subject”).

       B.      H.B. 20 violates the covered platforms’ First Amendment rights.

               1.      H.B. 20 compels privately owned websites and applications to dissemi-
                       nate third-party content, denying them editorial discretion over their
                       platforms.

       Like Florida’s similar law, the “legislation compels providers to host speech that violates

their standards—speech they otherwise would not host—and forbids providers from speaking as

they otherwise would.” NetChoice, 2021 WL 2690876, at *1. Covered platforms “use editorial

judgment in making [] decisions” about which content to remove that violates their policies and

how to disseminate content to their users—“much as more traditional media providers use editorial

judgment when choosing what to put in or leave out of a publication or broadcast.” Id. at *7. The

exercise of editorial discretion over the dissemination of content is inherently expressive. Dissem-

inating speech sends the message that it is “worthy of presentation.” Hurley, 515 U.S. at 575. A

decision to remove certain content, permanently remove a particular user’s access to their account,


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or prioritize certain content over other content thus conveys a message about the type of commu-

nity a platform wants to foster.

        H.B. 20 prohibits Plaintiffs’ members from moderating content based on user “viewpoint”

(undefined), banning virtually all forms of the platforms’ moderation efforts. Tex. Civ. Prac. &

Rem. Code §§ 143A.001(1); .002. If H.B. 20 takes effect, it will therefore require covered plat-

forms to disseminate, for example, pro-Nazi expression, terrorist propaganda, and foreign-govern-

ment disinformation. In fact, legislators rejected amendments allowing platforms to exclude vac-

cine misinformation, terrorist content, and Holocaust denial. Tex. H.R. Journal (87th Leg., 2d

Spec. Sess.) at 229-31 (2021), https://bit.ly/2Y2YGEp. The covered platforms have policies

against all kinds of content that express some kind of “viewpoint.” By requiring platforms to apply,

or decline to apply, their standards in ways they would not otherwise apply them, H.B. 20 requires

platforms to “alter the expressive content of their” message. Hurley, 515 U.S. at 572-73.

        H.B. 20 also constrains how Plaintiffs’ members disseminate content according to the plat-

forms’ policies. For instance, H.B. 20’s prohibition on actions that “de-boost” and “deny equal

access or visibility to or otherwise discriminate against expression”—to the extent that these pro-

hibitions can even be understood—impede covered platforms’ ability to place “post[s] in the

proper feeds.” NetChoice, 2021 WL 2690876, at *3; Ex. C ¶¶ 46-48. It is hard to imagine a post

that does not express some “viewpoint.” The platform must determine how and where users see

those different viewpoints, and some posts will necessarily have places of prominence—even if

just at the top of the website. Id.

        H.B. 20’s prohibition on “censorship” thus completely alters the covered online platforms’

products. Hurley, 515 U.S. at 572-73. Not only are covered platforms required to disseminate con-

tent they find objectionable, but they are also required to disseminate that objectionable content




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no differently than other, non-objectionable content on their websites and applications. H.B. 20

therefore puts the covered platforms to an unconstitutional choice: (1) disseminate content that is

contrary to the platforms’ community standards, thereby altering the very nature of the expressive

communities they seek to foster; or (2) remove broad categories of unobjectionable content (on

entire topics, for example) to avoid improperly discriminating based on “viewpoint”—an outcome

that would “burn[] the house to roast a pig.” NetChoice, 2021 WL 2690876, at *11 (citing Reno,

521 U.S. at 882). In either case, H.B. 20 imposes a “far greater burden on the platforms’ own

speech than” the Supreme Court has ever recognized as permissible. Id. at *9; id. (“[T]he statutes

compel the platforms to change their own speech in other respects, including, for example, by

dictating how the platforms may arrange speech on their sites.”). The First Amendment prohibits

the government from forcing these platforms to disseminate this content. E.g., Hurley, 515 U.S. at

572-73.

       That is especially true here where content on covered platforms is attributed to, or associ-

ated with, the platforms. Current and prospective platform users, business partners, advertisers,

and the public at large, often conclude that the platforms find content permitted on the sites to be

“worthy of presentation.” Hurley, 515 U.S. at 575; see Ex. A ¶ 28; Ex. B ¶¶ 16-18. As a result of

the platforms’ long histories of moderating various forms of objectionable content, users may as-

sume that content disseminated by platforms also reflects the platform’s tacit “support.” Id. And

as reflected by their public statements, public officials in Texas believe that the platforms moderate

content in line with the platforms’ perceived political beliefs. See supra pp.6-8. The same was true

in Florida, and the court there recognized that “the targets of the statutes at issue are the editorial

judgments themselves,” and that the “announced purpose of balancing the discussion—reining in




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the ideology of the large social-media providers—is precisely the kind of state action held uncon-

stitutional in Tornillo, Hurley, and PG&E.” NetChoice, 2021 WL 2690876, at *9.

       Furthermore, these platforms disseminate expression to people on their own branded web-

sites and applications, with unique user interfaces and right next to their businesses’ logos. So it is

understandable that the platforms want to moderate what content they distribute because users and

others associate that content with the platforms themselves. Indeed, many believe that “content

moderation policies often reflect a company’s values[.]” Ex. E ¶ 14. That is precisely why covered

platforms would suffer reputational harm and lost advertising revenue if harmful and objectionable

content had to appear on their websites and applications. Ex. A ¶ 28; Ex. B ¶¶ 16-18.

       In addition, H.B. 20 limits the platforms’ ability to engage in their own speech. Specifi-

cally, H.B. 20’s prohibition against covered platforms “otherwise discriminat[ing] against” user-

submitted content restricts speech generated by the platforms. Tex. Civ. Prac. & Rem. Code

§ 143A.001(1). For instance, if a platform appends its own speech to certain user-submitted con-

tent—such as posts from state-sponsored media or containing medical misinformation—users

might argue that the platform has “discriminated” against that content if it does not append a dis-

claimer to other content. Id. This provision thus restricts the covered platforms’ right to engage in

expression when they disagree with or object to user-submitted expression or believe that user-

submitted expression requires more context—striking at the core of the covered platforms’ First

Amendment rights. See NetChoice, 2021 WL 2690876, at *9 (“unlike the state actions in FAIR

and PruneYard,” discussed below, the Florida law “explicitly forbid social media platforms from

appending their own statements to posts”).

       All these features distinguish H.B. 20 from the law upheld in Rumsfeld v. Forum for Aca-

demic & Institutional Rights, Inc., 547 U.S. 47 (2006) (“FAIR”), which did not involve government




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restrictions on editorial functions. The “equal access” law there—unlike the content- and speaker-

based law here—simply required schools that allowed employment recruiters on campus to also

allow military employment recruiters on campus. Id. at 65. That campus-recruiter law thus “regu-

lates conduct, not speech,” and any resulting compelled speech was “plainly incidental to

the . . . regulation of conduct.” Id. at 62; accord Voting for Am., Inc. v. Steen, 732 F.3d 382, 388

(5th Cir. 2013) (FAIR held that the law-school recruitment was conduct, not expression). As the

Supreme Court explained, “accommodating the military’s message does not affect the law schools’

speech, because the schools are not speaking when they host interviews and recruiting receptions.”

FAIR, 547 U.S. at 64. In stark contrast, the core business of many Internet websites and applica-

tions is to present speech, making them inherently “expressive,” and covered platforms engage in

core First Amendment protected expression when they enforce their terms and community stand-

ards regarding what content to display and how. Reno, 521 U.S at 870. Because the platforms have

an “expressive character,” H.B. 20 cannot declare that “speech itself to be [a] public accommoda-

tion” that must present all viewpoints. Hurley, 515 U.S. at 573; see also NetChoice, 2021 WL

2690876, at *9 (distinguishing FAIR because the law upheld there did not compel or restrict

speech).

       The covered platforms have First Amendment rights as privately owned speakers. See

NetChoice, 2021 WL 2690876, at *7 (citing Manhattan Cmty., 139 S. Ct. at 1930). PruneYard

Shopping Center v. Robins, does not change that analysis. 447 U.S. 74 (1980). PruneYard upheld

a California law that required a shopping mall that never engaged in expression to host people

collecting signatures for petitions, because the Court concluded there was no “intrusion into the

function of editors” where the shopping mall’s operation of its business lacked an editorial func-

tion. Id. at 88. Crucially, “the owner did not even allege that he objected to the content of the




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pamphlets; nor was the access right content based.” PG&E, 475 U.S. at 12 (plurality op.) (discuss-

ing PruneYard) (emphasis added); see Hurley, 515 U.S. at 580 (“PruneYard did not involve ‘any

concern that access to this area might affect the shopping center owner’s exercise of his own right

to speak.’”) (citation omitted). Here, as explained above, the covered platforms are engaged in

expression and enforce their terms and policies to facilitate the type of community and discourse

they want to foster, as described in their policies. And H.B. 20 is a content-based restriction on

that editorial judgement. So “PruneYard [] does not undercut the proposition that forced associa-

tions that burden protected speech are impermissible.” PG&E, 475 U.S. at 12 (plurality op.).

H.B. 20 will trample on the covered platforms’ right to “eschew association for expressive pur-

poses.” Janus v. AFSCME, 138 S. Ct. 2448, 2463 (2018).

               2.      H.B. 20’s onerous disclosure and operational requirements further
                       burden platforms’ editorial discretion.

       H.B. 20 supplements its outright prohibition on platforms’ exercise of editorial discretion

with further onerous content-based procedural and reporting requirements (see supra pp.11-13),

which also unconstitutionally infringe on the platforms’ rights. The First Amendment prohibits a

“law that subjects the editorial process to private or official examination merely to satisfy curiosity

or to serve some general end such as the public interest.” Herbert v. Lando, 441 U.S. 153, 174

(1979). “Lawmakers may no more silence unwanted speech by burdening its utterance than by

censoring its content.” Sorrell, 564 U.S. at 556; accord, e.g., National Inst. of Family & Life Ad-

vocates v. Becerra, 138 S. Ct. 2361, 2378 (2018) (“NIFLA”) (invalidating “unduly burdensome

disclosure requirement that will chill [] protected speech”); Washington Post v. McManus, 944

F.3d 506, 518 (4th Cir. 2019) (law requiring disclosures about published political advertisements

“intrud[ed] into the function of editors and forc[ed] news publishers to speak in a way they would




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not otherwise”) (internal quotation marks omitted). That is why “content-based burdens must sat-

isfy the same rigorous scrutiny as . . . content-based bans.” United States v. Playboy Entm’t Grp.,

Inc., 529 U.S. 803, 812 (2000); accord Riley v. Nat’l Fed’n of the Blind of N. Carolina, Inc., 487

U.S. 781, 795 (1988).

       Even if H.B. 20’s procedural and reporting requirements were not per se invalid as intru-

sions targeting editorial functions, the Supreme Court has sharply circumscribed the situations

under which governments may burden First Amendment expression through disclosure and oper-

ational requirements. To survive constitutional scrutiny, such a law (1) must require only “purely

factual”; (2) “noncontroversial” information; and (3) cannot be “unjustified or unduly burden-

some.” NIFLA, 138 S. Ct. at 2372 (citation omitted).

       None of H.B. 20’s disclosure and operational provisions meet all three elements. For start-

ers, they are extremely—and intentionally—burdensome. H.B. 20 compels platforms to disclose

in excruciating detail how they moderate potentially billions of pieces of user-submitted content

worldwide—every piece and every type of content. See Tex. Bus. & Com. Code § 120.051. Plat-

forms must publish an “acceptable use” policy that would describe each platform’s policies and

the way it will enforce those policies—a statement of judgments, rather than mere facts. See id.

§ 120.052. They must publish a “biannual transparency report” including voluminous detail about

the moderation of potentially billions of pieces of content worldwide, and any and all action they

take under their acceptable use policies. Id. § 120.053. And they must provide and operate inher-

ently burdensome “complaint” and appeal procedures with incredibly tight deadlines for all con-

tent subject to the covered platforms’ policies—again, covering potentially billions of posts from

across the globe. Id. §§ 120.101-04.




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       In other words, H.B. 20 imposes operational mandates and disclosure requirements de-

signed to prescriptively manage—and therefore interfere with and chill—covered social media

platforms’ constitutionally protected editorial discretion. H.B. 20’s invasive disclosure require-

ments go far beyond the “factual, noncontroversial information” disclosures the First Amendment

permits in certain circumstances because they compel the covered platforms to speak about their

judgments—including on topics that are highly controversial. NIFLA, 138 S. Ct. at 2372. Moreo-

ver, the required disclosures, particularly with respect to “algorithms or procedures that determine

results on the platform,” may reveal trade secrets and other nonpublic, competitively sensitive

information about how the platforms operate. Tex. Bus. & Com. Code § 120.051(a)(4). This in-

formation will also give bad actors, such as foreign adversaries, scammers, spammers, predators,

and criminals a roadmap for evading even the minimal moderation permitted under H.B. 20, mak-

ing it more difficult and costly to keep harmful content off members’ platforms. Ex. F ¶ 10. Besides

its disclosure obligations, H.B. 20’s requirements regarding individual notices to users whose con-

tent is subject to moderation and the complaint and appeal process are designed to overload the

platforms and force them to refrain from exercising their editorial judgment. They invite bad-faith

abuse from users who lack legitimate complaints and who wish only to impose burdens on the

platforms. Individually and especially together all these requirements “unduly burden[]” covered

platforms’ protected moderation—not to mention their basic business operations. NIFLA, 138 S.

Ct. at 2377-78.

       These requirements are akin to requiring large bookstores to publicly declare their process

to select which books to display and feature, disclose which books they chose not to display or

feature, and provide a grievance procedure for writers whose books they declined to carry. The

Constitution does not permit this. E.g., Herbert, 441 U.S. at 174; Tornillo, 418 U.S. at 258; id. at




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256 (restraints “need not fall into familiar or traditional patterns to be subject to constitutional

limitations on governmental powers”). For example, the Fourth Circuit recently invalidated pur-

ported disclosure requirements for “online platforms that host political ads.” McManus, 944 F.3d

at 514. The court found the disclosure law unconstitutional because the law’s requirements “force

elements of civil society to speak when they otherwise would have refrained. . . . It is the presence

of compulsion from the state itself that compromises the First Amendment.” Id. (citations omitted).

So too here with the covered online platforms regulated by H.B. 20: “It targets speakers, not

speech, and imposes an unduly burdensome disclosure requirement that will chill their protected

speech.” NIFLA, 138 S. Ct. at 2378.

                3.      H.B. 20 discriminates based on content and speaker.

        H.B. 20 has additional constitutional defects because it discriminates based on content and

speaker. This discrimination pervades the entire statutory scheme, subjecting all of H.B. 20 to strict

scrutiny regardless of its severability provision. See Reed v. Town of Gilbert, 576 U.S. 155, 163

(2015) (content discrimination); Minneapolis Star & Tribune Co. v. Minnesota Comm’r of Reve-

nue, 460 U.S. 575, 591 (1983) (speaker discrimination).

        H.B. 20’s two content-based exceptions from its prohibitions on content moderation reveal

that the statute “applies to particular speech because of the topic discussed or the idea or message

expressed.” Reed, 576 U.S. at 163 (collecting cases); see Tex. Civ. Prac. & Rem. Code

§ 143A.006(a)(2)-(3). For instance, H.B. 20 permits moderation over “expression that directly in-

cites criminal activity or consists of specific threats of violence covered against a person or group

because of their race, color, disability, religion, national origin or ancestry, age, sex, or status as a

peace officer or judge.” Tex. Civ. Prac. & Rem. Code § 143A.006(a)(3). This exemption recog-

nizes and “permits” an important component of covered platforms’ current policies. See Ex. A

¶ 24. But there is no legitimate reason to allow the platforms to enforce their policies over threats


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based only on these favored criteria but not, for example, sexual orientation, military service, or

union membership. See R.A.V. v. City of St. Paul, Minn., 505 U.S. 377, 391 (1992); Ex. C ¶ 39.

       Targeting so-called “Big Tech,” H.B. 20 also sweeps in disfavored large businesses with

over 50 million monthly active U.S. users and excludes favored social media businesses such as

Parler, Gab, and Gettr, as well as sports (such as ESPN and Barstool Sports) and news (such as

CNN and MSNBC) websites, and more. As the Supreme Court has recognized, such “discrimina-

tion between speakers is often a tell for content discrimination.” NetChoice, 2021 WL 2690876,

at *10 (citation omitted); see Grosjean v. American Press Co., 297 U.S. 233, 250-51 (1936) (strik-

ing down tax targeting newspapers with large circulation). As the Fifth Circuit has explained,

“Laws singling out a small number of speakers for onerous treatment are inherently suspect.” Time

Warner Cable, Inc. v. Hudson, 667 F.3d 630, 638 (5th Cir. 2012); accord Citizens United v. FEC,

558 U.S. 310, 340 (2010) (“Speech restrictions based on the identity of the speaker are all too often

simply a means to control content.”). That principle has special force when it comes to speakers—

such as social media platforms—that disseminate user content, news, and information. Arkansas

Writers’ Project, Inc. v. Ragland, 481 U.S. 221, 228 (1987). Laws “that discriminate among media,

or among different speakers within a single medium, often present serious First Amendment con-

cerns” because such laws present very real “dangers of suppression and manipulation” of the me-

dium. Turner Broad. Sys., Inc. v. FCC, 512 U.S. 622, 659, 661 (1994) (“Turner”).

       H.B. 20’s legislative history confirms that its arbitrary size threshold is a proxy for target-

ing platforms whose moderation efforts some perceive as disfavoring “conservative” views. As

discussed above, Governor Abbott and H.B. 20’s earliest legislative proponents expressly argued

that H.B. 20 was needed to stop the covered platforms from “silencing conservative views” due to

perceived political viewpoints of these platforms, as expressed through their enforcement of their




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policies. See supra pp.6-8. H.B. 20’s size limit thus discriminates based on content (and viewpoint)

because it “cannot be ‘justified without reference to the content of the regulated speech,’” and it

“w[as] adopted by the government ‘because of disagreement with the message’ the speech con-

veys.” Reed, 576 U.S. at 164 (citation omitted). These defects pervade these sections of H.B. 20

and cannot be cured merely by severing off isolated provisions.

               4.      H.B. 20 is unconstitutionally vague.

       Key provisions of H.B. 20 also are unconstitutionally vague—both facially and as applied

to Plaintiffs’ members. “A fundamental principle in our legal system is that laws which regulate

persons or entities must give fair notice of conduct that is forbidden or required.” FCC v. Fox TV

Stations, Inc., 567 U.S. 239, 253 (2012). A law is unconstitutionally vague—and must be invali-

dated—when it fails “to provide a person of ordinary intelligence fair notice of what is prohibited,

or is so standardless that it authorizes or encourages seriously discriminatory enforcement.” Id.

These principles apply with special force to expression, and “rigorous adherence to those require-

ments is necessary to ensure that ambiguity does not chill protected speech.” Id. at 253-54.

       H.B. 20’s definition of prohibited “censorship” raises more questions than answers. In par-

ticular, the provision requiring covered platforms to provide “equal access to or visibility” to con-

tent is hopelessly indeterminate. Tex. Civ. Prac. & Rem. Code § 143A.001(1). This provision is

akin to an unconstitutional provision in Florida’s enjoined law that required platforms to enforce

their policies in a “consistent” manner—which the Northern District of Florida held “especially

vague.” NetChoice, 2021 WL 2690876, at *11. The covered platforms process billions of pieces

of content, and there is no administrable way to determine whether any single piece of content has

“equal access or visibility” as another single piece of content. This provision could “prohibit[] a

social media platform from” displaying content “in the proper feeds—to put the post in the feed




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of a user who wishes to receive it or to exclude the candidate’s post from the feed of a user who

does not wish to receive it. Including a post in the feed of a user who wishes to receive it places

the post ahead of and in a more prominent position than the many posts the user will not receive

at all. Excluding a post from the feed of a user who does not wish to receive it will eliminate the

user’s exposure to the post.” NetChoice, 2021 WL 2690876, at *3.

       H.B. 20’s definition of “social media platform” is also unclear, and its multiple primary-

purpose tests threaten to cover websites and applications not generally understood as “social me-

dia.” The definition excludes websites and applications that “primarily” provide “news, sports,

entertainment, or other information or content that is not user generated but is preselected by the

provider.” Tex. Bus. & Com. Code § 120.001(1)(C)(i). Even if “primarily” means “greater than

50%,” a person of ordinary intelligence would have no idea what “primarily” refers to as the rele-

vant denominator, and would thus have no idea whether H.B. 20’s onerous provisions apply. Sim-

ilarly, it is unclear which websites and applications “enable[] users to communicate with other

users for the primary purpose of posting information, comments, messages, or images.” Id.

§ 120.001(1). Such “[a]n intent-based standard” is invalid for speech regulations because it “‘blan-

kets with uncertainty whatever may be said.’” FEC v. Wisconsin Right To Life, Inc., 551 U.S. 449,

468 (2007) (plurality op.) (quoting Buckley v. Valeo, 424 U.S. 1, 43 (1976) (per curiam)). Ordinary

people would further have no idea what makes a chat or comment section “incidental to, directly

related to, or dependent on” a platform’s preselected content. Tex. Bus. & Com. Code

§ 120.001(1)(C)(ii). H.B. 20 provides no guidance about the necessary degree of connection or

how much of the discussion in the chat or comment section must “relate” (however closely) to the

platform’s preselected content. See id. § 120.001.




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       H.B. 20’s enforcement authority even empowers the Attorney General to seek an injunc-

tion against “potential violation[s]” of the statute. Tex. Civ. Prac. & Rem. Code § 143A.008 (em-

phasis added). Other statutes using similar language specify that the potential violation must be

imminent. E.g., Tex. Occ. Code § 1101.752(a). H.B. 20 lacks this important qualification, creating

enormous uncertainty for covered platforms. If H.B. 20 permits the courts to enjoin any “potential

violations” then the statute reaches all moderation decisions a covered platform might make—

chilling platforms’ First Amendment rights even further.

       The statute’s disclosure and operational requirements contain similar infirmities. Section

2’s requirements, where they are not open-ended, are too vague to apprise covered platforms of

their obligations. For instance, H.B. 20’s non-exhaustive list of disclosure requirements grants the

Attorney General substantial discretion to sue based on a covered platform’s failure to include un-

enumerated information. See supra pp.11. All these vague provisions chill platforms’ exercise of

their constitutionally protected editorial judgment.

       C.      H.B. 20 fails any level of heightened First Amendment scrutiny.

       H.B. 20 contains content-based, viewpoint-based, and speaker-based restrictions that trig-

ger strict scrutiny, which is satisfied only if the state has adopted “the least restrictive means of

achieving a compelling state interest.” Americans for Prosperity Found. v. Bonta, 141 S. Ct. 2373,

2377 (2021) (“AFP”) (quoting McCullen v. Coakley, 573 U.S. 464, 478 (2014)). In all events,

H.B. 20 fails any form of heightened First Amendment review. Even under “intermediate scru-

tiny,” the state must prove that H.B. 20 is “narrowly tailored to serve a significant government

interest.” Packingham v. North Carolina, 137 S. Ct. 1730, 1736 (2017); see also AFP, 141 S. Ct.

at 2377 (requiring narrow tailoring under “exacting scrutiny” standard). H.B. 20 “come[s] nowhere

close.” NetChoice, 2021 WL 2690876, at *11.




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                   1.   H.B. 20 serves no sufficient state interest.

        H.B. 20 furthers no legitimate—let alone a compelling or important—government interest.

The government cannot compel some private entities to disseminate speech “in order to enhance

the relative voice of others.” Buckley, 424 U.S. at 48-49; accord Tornillo, 418 U.S. at 254; Arizona

Free Enter. Club v. Bennett, 564 U.S. 721, 749-50 (2011) (“leveling” not a legitimate interest).

Put another way, as the Northern District of Florida observed in NetChoice, “promoting speech on

one side of an issue or restricting speech on the other . . . is not a legitimate state interest.” 2021

WL 2690876, at *11 (citation omitted); accord Hurley, 515 U.S. at 581; PG&E, 475 U.S. at 9, 16

(plurality op.).

        The “enviable” “size and success” of covered platforms’ communities does not “support[]

a claim that [the covered platforms] enjoy an abiding monopoly of access to spectators.” Hurley,

515 U.S. at 577-78. As the Supreme Court recognized in Hurley, even if there may be only one

true St. Patrick’s Day parade in Southie, that does not diminish the parade organizers’ First

Amendment rights. Id.; accord Tornillo, 418 U.S. at 250 (rejecting asserted interest in preventing

the “abuses of bias and manipulative reportage” that government claimed were “the result of the

vast accumulations of unreviewable power in the modern media empires”). The alleged “concen-

tration of market power among large social-media providers does not change the governing First

Amendment principles.” NetChoice, 2021 WL 2690876, at *7.

        H.B. 20 declares that “social media platforms with the largest number of users are common

carriers by virtue of their market dominance.” H.B. 20 § 1(4); see also § 1(3) (“social media plat-

forms function as common carriers”). But the statutory label as “a common carrier scheme has no

real First Amendment consequences,” so “impos[ing] a form of common carrier obligation” cannot

justify a law that “burdens the constitutionally protected speech rights” of platforms “to expand




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the speaking opportunities” of others. Denver, 518 U.S. at 824-26 (Thomas, J., concurring in judg-

ment in part and dissenting in part); see PG&E, 475 U.S. at 17-18 & n.14 (plurality op.) (common

carriers retain their “right to be free from state regulation that burdens [their] speech”). In other

words, while H.B. 20 attempts to designate privately owned platforms as “common carriers,”

§ 1(3)-(4), that label does not allow Texas to circumvent the First Amendment’s protections.

       Regardless, the covered platforms are not common carriers as a matter of law or fact. Under

the common law before the American Founding, at the time of the Founding, and around the rati-

fication of the Fourteenth Amendment, common carriers were those who undertook to transport or

carry goods “indifferently.” Allen v. Sackrider, 37 N.Y. 341, 342 (1867) (collecting authorities);

Bank of Orange v. Brown, 1829 WL 2396 (N.Y. Sup. Ct. 1829) (“Every person who undertakes to

carry, for a compensation, the goods of all persons indifferently, is, as to the liability imposed, to

be considered a common carrier.”); Gisbourn v. Hurst, I Salk. 249, 250, 91 Eng. Rep. 220, 220

(1710) (“[A]ny man undertaking for hire to carry the goods of all persons indifferently . . . is . . . a

common carrier.”). As addressed above, the covered platforms do not hold, and have never held,

themselves out as organizations that carry all persons or all content “indifferently.” Ex. A ¶ 12-13;

Ex. C ¶ 11; Ex. D ¶8.6 For example, many platforms have never permitted adult content or por-

nography. H.B. 20 would force them to carry such content. More generally, the platforms may be

used only by users who agree to the platforms’ terms and policies and comply with each platform’s

respective community standards.




       6
          This is why state and federal courts have consistently held that companies like (and in-
cluding) the covered platforms are not common carriers. E.g., Howard v. America Online, Inc.,
208 F.3d 741, 753 (9th Cir. 2000) (AOL not “common carrier”); Kinderstart.com LLC v. Google,
Inc., 2006 WL 3246596, at *10-11 (N.D. Cal. July 13, 2006) (Google not “common carrier”);
Millan v. Facebook, Inc., 2021 WL 1149937, at *3 (Cal. Ct. App. Mar. 25, 2021) (“Facebook does
not satisfy the definition of a ‘common carrier.’”).


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       The Supreme Court’s decision in Turner supports this conclusion. Turner turned on “the

unique physical characteristics of cable [television] transmission” which provided cable compa-

nies a physical “bottleneck, or gatekeeper, control over most (if not all) of the television program-

ming that is channeled into the subscriber’s homes.” Turner, 512 U.S. at 639, 656; see Reno, 521

U.S. at 868-69 (“some of our cases have recognized special justifications for regulation of the

broadcast media that are not applicable to other speakers,” such as “forums of the Internet”). As

the Fifth Circuit held, “the Supreme Court [in Turner] applied intermediate scrutiny to a law im-

posing must-carry obligations on cable operators only because the cable medium uniquely allowed

for the bottleneck control that explained Congress requiring just cable operators, and not other

video service providers, from carrying certain stations.” Time Warner, 667 F.3d at 640 (emphasis

added); accord Horton v. City of Houston, 179 F.3d 188, 192, 194 (5th Cir. 1999) (explaining that

the law in Turner was only deemed content neutral because it was designed “to further the non-

speech-related goals of protecting local broadcasters and assuring free TV access to citizens who

lack cable connections”) (emphasis added).

       Because of that unique physical bottleneck, there would have been a complete “elimination

of broadcast television”—that is, “access to free television programming for the 40 percent of

Americans without cable”—if cable companies nationwide had not been required to carry broad-

cast television channels. Turner, 512 U.S. at 646; see Time Warner, 667 F.3d at 640 (“Turner made

clear, however, that the must-carry requirement impacted ‘almost all cable systems in the country,

rather than just a select few’”) (emphasis added). And the Court noted that “broadcast licensees

must retain abundant discretion over programming choices,” so government was not categorically

prohibiting private editorial decisions. Turner, 520 U.S. at 651 (emphasis added). The regulation

upheld in Turner only required cable companies to carry a small number of established broadcast




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channels, and it did not purport to micromanage and burden every single decision cable providers

make about the content they disseminate. By contrast, H.B. 20 is far more burdensome.

       Unlike the cable companies in Turner, the covered platforms have no natural monopoly

over physical infrastructure, and they do not possess any bottleneck that would “destroy[]” an

entire speech medium used by half of the country. Hurley, 515 U.S. at 577 (discussing Turner).

As the Supreme Court recognized three years after Turner, “the Internet can hardly be considered

a ‘scarce’ expressive commodity.” Reno, 521 U.S at 870. Technological progress has made the

Internet replete with different forums for expression, as demonstrated by H.B. 20’s own otherwise

unconstitutional speaker-based exemptions and distinctions. In all events, Turner is distinguisha-

ble in many other ways: (1) H.B. 20 is content-based, cf. Turner, 512 U.S. at 655-56; (2) the ex-

pression on the covered platforms can be, and often is, attributed to the platforms, cf. id. at 655;

and (3) H.B. 20 cannot satisfy intermediate scrutiny; cf. id. at 662.

               2.      H.B. 20 is neither the least restrictive means nor narrowly tailored.

       Even if H.B. 20 served a sufficient state interest—which it does not—it is neither narrowly

tailored nor the “least restrictive” means of furthering any such interest. AFP, 141 S. Ct. at 2383.

       H.B. 20 is not narrowly tailored because, as discussed, it does not apply “evenhandedly”

to “smalltime” and “giant” speakers. Florida Star v. B.J.F., 491 U.S. 524, 540-41 (1989). H.B. 20’s

50-million-U.S.-user line for covered platforms is both arbitrary and unsupported by any legisla-

tive findings. See Edenfield v. Fane, 507 U.S. 761, 770-71 (1993) (requiring more than “mere

speculation or conjecture” to justify speech restrictions). Indeed, the user threshold was amended

at various points in the legislative process without much consideration. And during the regular

legislative session, one state Senator proposed lowering the threshold to 25 million monthly users,

in an effort to include “websites such as Parler and Gab, which are popular among conservatives.”

Shawn Mulcahy, Texas Senate approves bill to stop social media companies from banning Texans


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for political views, Texas Tribune (updated Apr. 1, 2021), https://bit.ly/3nU2ceV. But the amend-

ment failed. Id.

       By discriminating among platforms by size, H.B. 20 raises “serious doubts about whether

the government is in fact pursuing the interest it invokes, rather than disfavoring a particular

speaker or viewpoint.” NIFLA, 138 S. Ct. at 2376 (quoting Brown, 564 U.S. at 802). As in Florida,

the state cannot offer a “basis for imposing these restrictions only on the largest providers. . . . The

application of these requirements to only a small subset of social-media entities would be suffi-

cient, standing alone, to subject these statutes to strict scrutiny.” NetChoice, 2021 WL 2690876,

at *10. This size cutoff makes H.B. 20 hopelessly underinclusive to satisfy whatever possible state

interest could be implicated.

       Furthermore, as discussed above, H.B. 20 permits covered platforms to moderate content

disfavored by Texas—notwithstanding that exempted content may express a “viewpoint”—but the

inclusion of these exceptions similarly demonstrates that H.B. 20 is underinclusive and thus not

narrowly tailored. See supra pp.9, 26-27. The legislature rejected amendments, for example, that

would have allowed platforms to exclude vaccine misinformation, terrorist content, and Holocaust

denial. See supra p.19.

       H.B. 20 is also overinclusive by potentially sweeping in “systems nobody would refer to

as social media.” NetChoice, 2021 WL 2690876, at *2. It is vague enough to include any website

or application that allows users to communicate, regardless whether their primary use is the dis-

semination of content and information.

       Fundamentally, Texas cannot satisfy any tailoring requirement because there is an obvious

alternative that would directly advance the state’s asserted interests without limiting or burdening

private First Amendment rights. Texas could create its own government-run social media platform




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if it thought it so important to provide a completely open forum allowing all speech regardless of

viewpoint. In fact, such a proposal was considered—but rejected—by the Texas Legislature when

it adopted H.B. 20. See Tex. H.R. Journal (87th Leg., 2d Spec. Sess.) at 232,

https://bit.ly/2Y2YGEp. Instead of that alternative, H.B. 20 commandeers privately owned busi-

nesses, compels them to disseminate content, and eviscerates their editorial discretion over their

own platforms.

       All these aspects indicate a “dramatic mismatch” between any interest H.B. 20 could pos-

sibly further and H.B. 20’s actual effects. AFP, 141 S. Ct. at 2386.

                                         *       *      *

       H.B. 20’s restrictions purportedly do not apply if a platform “is specifically authorized to

censor by federal law,” but this attempted savings clause cannot rescue H.B. 20 from invalidation.

Tex. Civ. Prac. & Rem. Code § 143A.006(a)(1). H.B. 20 does not define “specifically authorized,”

and it is unclear what federal rights this provision contemplates. Whatever this vague provision

means, it would be strange for the legislature to enact a complex statute regulating social media

platforms only to render them all a nullity via this amorphous savings clause.

       H.B. 20’s vague savings clause is no impediment to vindicating federal free-speech rights.

Under the First Amendment, “a series of adjudications, and the chilling effect of the resolution on

protected speech in the meantime would make such a case-by-case adjudication intolerable.”

Board of Airport Comm’rs v. Jews for Jesus, Inc., 482 U.S. 569, 576 (1987). This speech-chilling

complexity created by the Legislature only enhances the need for prompt adjudication and vindi-

cation of Plaintiffs’ members’ federal rights. See Reno, 521 U.S. at 884 n.49 (“It would certainly

be dangerous if the legislature could set a net large enough to catch all possible offenders, and

leave it to the courts to step inside and say who could be rightfully detained, and who should be




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set at large.”); City & Cnty. of San Francisco v. Trump, 897 F.3d 1225, 1239-40 (9th Cir. 2018)

(“If ‘consistent with law’ precludes a court from examining whether the Executive Order is con-

sistent with law, judicial review is a meaningless exercise, precluding resolution of the critical

legal issues.”); Hias, Inc. v. Trump, 985 F.3d 309, 325 (4th Cir. 2021) (“a purely theoretical savings

clause” cannot immunize an order from judicial review). Regardless, under the Supremacy Clause,

the First Amendment and the Communications Decency Act provide the federal “rule of decision”

because they conflict with H.B. 20’s operative provisions imposing restrictions on private actors.

Kansas v. Garcia, 140 S. Ct. 791, 801 (2020).

       H.B. 20’s severability clause in Section 8, likewise, does not save the challenged statutory

provisions because they are facially unconstitutional in all applications. E.g., United States v. Sa-

lerno, 481 U.S. 739, 745 (1987) (law facially invalid when “no set of circumstances exists under

which the [law] would be valid”). In the alternative, H.B. 20’s challenged provisions are also fa-

cially invalid under the First Amendment’s overbreadth doctrine because “a substantial number of

its applications are unconstitutional, judged in relation to the statute’s plainly legitimate sweep.”

AFP, 141 S. Ct. at 2387. This federal overbreadth rule trumps any state severability clause. See

Reno, 521 U.S. at 883-84 & n.49 (striking down statute despite severability clause purporting to

preserve constitutional “application[s] . . . to ‘other persons or circumstances’” because “a sever-

ability clause is an aid merely; not an inexorable command”) (citation omitted).

II.    H.B. 20 is preempted by the Communications Decency Act, 47 U.S.C. § 230.

       In addition to the First Amendment, Congress in the Communications Decency Act made

clear that Plaintiffs’ members (like all businesses offering websites) are entitled to exercise their

own “editorial and self-regulatory functions.” Ben Ezra, Weinstein, & Co. v. America Online Inc.,

206 F.3d 980, 986 (10th Cir. 2000); see 47 U.S.C. § 230(c)(2)(A). “First Amendment values . . .




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drive the CDA.” Google, Inc. v. Hood, 822 F.3d 212, 220 (5th Cir. 2016). Indeed, Congress titled

Section 230, “Protection for private blocking and screening of offensive material.” 47 U.S.C.

§ 230.7 Section 230 provides “broad” protection for the content-related decisions that online plat-

forms (of all sizes and shapes) make. Almeida v. Amazon.com, Inc., 456 F.3d 1316, 1321 (11th

Cir. 2016); 47 U.S.C. § 230(e)(3) (“No cause of action may be brought and no liability may be

imposed under any state or local law that is inconsistent with this section.”). Accordingly, Section

230 “preempts the parts of” H.B. 20 “that purport to impose liability for other decisions to remove

or restrict access to content” and the parts of the Bill “applicable to a social media platform’s

restriction of access to posted material.” NetChoice, 2021 WL 2690876, at *6.

       Section 230 expressly preempts H.B. 20’s attempt to punish content moderation. Under

Section 230, Plaintiffs’ members may not “be treated as the publisher or speaker of any information

provided” by its users nor may they “be held liable on account of . . . any action voluntarily taken

in good faith to restrict access to or availability of material that the provider considers to be ob-

scene, lewd, lascivious, filthy, excessively violent, harassing, or otherwise objectionable.” 47

U.S.C. § 230(c)(1), (2)(A) (emphases added). Internet platforms thus may not be held liable for

moderating content on their sites. Indeed, “Section 230 ‘specifically proscribes liability’” for a

website’s “‘decisions relating to the monitoring, screening, and deletion of content from its net-

work—actions quintessentially related to a publisher’s role.’” Doe v. MySpace, Inc., 528 F.3d 413,

420 (5th Cir. 2008) (Section 230 confers “broad immunity” for “all claims” related to the “publi-

cation of information created by third parties”) (citation omitted); see also La’Tiejira, 272 F. Supp.

3d at 993-94 (“‘[A]ny activity that can be boiled down to deciding whether to exclude material




       7
          Covered platforms and Plaintiffs’ members receive Section 230 protections because they
are “interactive computer services” under Section 230. 47 U.S.C. § 230(f)(2).


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that third parties seek to post online is perforce immune under section 230.’”) (quoting Fair Hous-

ing Council of San Fernando Valley v. Roommates.com, LLC, 521 F.3d 1157, 1170 (9th Cir.

2009)); Almeida, 456 F.3d at 1321 n.3 (“The language of section 230(c)(2) is clearly inconsistent

with state law that makes interactive service providers liable based on their efforts to screen con-

tent.”). Courts have routinely held that platforms (and other websites) have the right to “restrict

access to or availability of” objectionable content. E.g., Daniels v. Alphabet, 2021 WL 1222166,

at *11-13 (N.D. Cal. Mar. 31, 2021) (YouTube’s removing conspiracy-theory videos).

       Yet H.B. 20 imposes liability on those same websites for moderating content based on

“viewpoints” that the websites consider objectionable. Tex. Civ. Prac. & Rem. Code

§ 143A.002(a)(1)-(3). For instance, many covered platforms (like other websites8) ban hate speech

because hate speech is “objectionable.” Yet hate speech—no matter how abhorrent—expresses a

“viewpoint” that Plaintiffs’ members must now carry under H.B. 20 or else face a civil lawsuit.

Federal law expressly permits every website on the Internet to moderate content and provides that

those websites be free from any “action” challenging how they exercise that discretion. 47 U.S.C.

§ 230(c), (e)(3).

III.   H.B. 20 violates the Commerce Clause.

       Independently, H.B. 20 exceeds Texas’s authority under the Commerce Clause. H.B. 20

regulates not only how platforms will operate in Texas, but also regulates the worldwide operations

of platforms and what and how content is displayed to non-Texans on the platforms. In so doing,




       8
           E.g., Texas Attorney General, Site Policies, https://bit.ly/3nHBwxX (last visited Sept. 30,
2021) (“Members of the public should not post or share information on an OAG social media page
if that information is personal, sensitive, obscene, threatening, harassing, discriminatory, or would
otherwise compromise public safety or incite violence or illegal activities.”).


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H.B. 20 unconstitutionally reaches far beyond Texas’s borders to regulate covered platforms’ eco-

nomic activity and affects the product everyone in the world receives through the Internet. To top

it off, H.B. 20 also unlawfully discriminates against platforms engaged in interstate commerce by

compelling covered platforms to continue doing business in Texas even if they do not want to.

        Both directly and in “practical effect,” H.B. 20 unconstitutionally regulates “commerce

that takes place wholly outside of the state’s borders” and is therefore per se invalid. Healy, 491

U.S. at 336 (quoting Edgar v. MITE Corp., 457 U.S. 624, 642-43 (1982) (plurality op.)). H.B. 20’s

provisions apply worldwide to content posted on covered platforms by Texas residents and busi-

nesses, regardless of where the resident or business is located, when it submits content, or where

other users are located when they view it. H.B. 20 thus “directly controls commerce occurring

wholly outside” Texas and “exceeds the inherent limits” of the state’s authority. Id. That makes

H.B. 20 unconstitutional “regardless of whether the statute’s extraterritorial reach was intended by

the legislature.” Id. H.B. 20 regulates extraterritorially in at least five specific ways.

        First, H.B. 20 restricts how covered platforms (headquartered outside Texas) may moder-

ate user-submitted content worldwide by creating an entitlement for Texas users to “receive” con-

tent free of “viewpoint” “censorship.” Tex. Civ. Prac. & Rem. Code § 143A.002(3). H.B. 20 pro-

hibits editorial discretion based on the views of “another person,” a term that—unlike covered

“users”—has no geographic limit and thus includes anyone across the world. Id. § 143A.002(a)(1).

        Second, H.B. 20 compels covered platforms to publish and disseminate worldwide content

posted by “users.” Id. § 143A.002(3). H.B. 20’s restrictions do not merely regulate how Texans

view social media in Texas. On the contrary, H.B. 20 restricts how Plaintiffs’ members display

their platforms everywhere.

        Third, H.B. 20 restricts moderation over content posted by covered “users” from anywhere




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in the world. Id. § 143A.003(a). If a Texas resident lives in or travels to New York or Europe and

posts to or receives social media from there, H.B. 20 applies. Likewise, if a company “does busi-

ness” in Texas but posts to social media from a location outside of Texas—even about matters that

have nothing to do with Texas or its residents—H.B. 20 purports to restrict editorial discretion

over such out-of-state posts.

        Fourth, H.B. 20 has the practical effect of regulating commerce outside Texas because

Plaintiffs’ members operate their services and enforce their policies on a global scale. So even if a

post is made in Texas, the decision about whether and how the post is displayed extends well

beyond Texas’s borders. “Because the internet does not recognize geographic boundaries, it is

difficult, if not impossible, for a state to regulate internet activities without ‘project[ing] its legis-

lation into other States.’” American Booksellers Found. v. Dean, 342 F.3d 96, 103 (2d Cir. 2003)

(alteration in original; quoting Healy, 491 U.S. at 334); accord American Libraries Ass’n v. Pataki,

969 F. Supp. 160, 177 (S.D.N.Y. 1997).

        Fifth, and finally, H.B. 20 reaches beyond Texas and compels Plaintiffs’ covered mem-

bers—headquartered and incorporated outside Texas—to engage in commerce with Texas users

by prohibiting covered platforms from denying access based on “a user’s geographic location in

this state or any part of this state.” Tex. Civ. Prac. & Rem. Code § 143A.002(a)(3). In other words,

H.B. 20 makes it impossible for covered platforms to avoid its restrictions. If a covered platform

decides it would rather not do business in Texas than be forced to disseminate pro-Nazi speech, it

cannot do so under H.B. 20—or else it will face myriad lawsuits from Texas users seeking rein-

statement and their statutory entitlement to receive all user-submitted content worldwide. Just as

states lack authority to regulate wholly extraterritorial commerce, they cannot drag extraterritorial

commerce within their borders to then subject that commercial activity to the state’s intra-state




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regulatory authority. See Healy, 491 U.S. at 336-37.

       For all these reasons, H.B. 20’s requirement of a Texas “user” obscures the fact that

H.B. 20 fundamentally (and unconstitutionally) regulates how out-of-state companies interact with

out-of-state users. As the Supreme Court has held, when a state regulates economic conduct wholly

outside of the state’s borders, it does not matter “whether or not the commerce has effects within

the State.” Id. at 336 (quoting MITE, 457 U.S. at 642-43). Accordingly, courts across the country

have held unconstitutional laws that purport to peg their extraterritorial application to an in-state

hook. E.g., North Dakota v. Heydinger, 825 F.3d 912, 921 (8th Cir. 2016) (Minnesota law regu-

lating company’s electricity generation was unconstitutional extraterritorial legislation because

out-of-state company could not prevent Minnesota consumers from accessing its electricity and

therefore would have to leave the market entirely or conduct even its out-of-state business on Min-

nesota’s terms); Sam Francis Foundation v. Christies, Inc., 784 F.3d 1320, 1323 (9th Cir. 2015)

(en banc) (invalidating law that “regulates sales that take place outside” state with “no necessary

connection with the state other than the residency of the seller”); TelTech Sys., Inc. v. Barbour,

866 F. Supp. 2d 571, 576 (S.D. Miss. 2011) (holding Mississippi anti-spoofing law invalid under

Commerce Clause in part because it was impossible for company to determine whether recipient

of caller ID spoofing was in Mississippi, and therefore to conduct business anywhere in country

without risk of liability under Mississippi’s statute), aff’d sub. nom. TelTech Sys., Inc. v. Bryant,

702 F.3d 232 (5th Cir. 2012).

       Moreover, by forcing out-of-state firms to conduct business in Texas, H.B. 20 not only

regulates extraterritorially but also punishes firms for doing business in other states. H.B. 20 dis-

criminates against companies for having a non-Texas user base—that is, for engaging in interstate




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commerce. Such state regulations that penalize companies for “‘participat[ing] in interstate com-

merce’” are “facially discriminatory” and thus virtually per se unconstitutional. Camps New-

found/Owatonna, Inc. v. Town of Harrison, 520 U.S. 564, 578 (1997) (quoting Fulton Corp. v.

Faulkner, 516 U.S. 325, 333 (1996)). H.B. 20 thus violates the Commerce Clause in multiple re-

spects.

IV.       The remaining factors favor a preliminary injunction.

          The remaining factors all weigh in favor of granting Plaintiffs a preliminary injunction.

Doing so maintains the status quo, allowing covered platforms to continue exercising their First

Amendment and other rights as they have since their inception.

          “There can be no question that the challenged restrictions, if enforced, will cause irrepara-

ble harm. ‘The loss of First Amendment freedoms, for even minimal periods of time, unquestion-

ably constitutes irreparable injury.’” Roman Catholic Diocese of Brooklyn v. Cuomo, 141 S. Ct.

63, 67 (2020) (per curiam) (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976) (plurality op.));

accord Texans for Free Enter. v. Texas Ethics Comm’n, 732 F.3d 535, 539 (5th Cir. 2013);

NetChoice, 2021 WL 2690876, at *11.

          H.B. 20 will radically upset how platforms work and the core value that they provide to

users. By compelling platforms to disseminate all user speech regardless of “viewpoint,” H.B. 20

prohibits virtually all moderation and curation necessary to make the platforms safe and enjoyable

for users. Ex. A ¶¶ 12-13; Ex. A ¶¶ 19-20; Ex. C ¶ 11; Ex. D ¶¶ 8-9, 13-14. If H.B. 20 goes into

effect, users in Texas and worldwide will be inundated with abusive, unsafe, and offensive material

including pornography, hate speech, foreign-state propaganda, domestic disinformation, and more

that could make different platforms unusable or undesirable. Ex. A ¶ 45; Ex. B ¶ 20; Ex. C ¶ 61;

Ex. D ¶ 24. And once H.B. 20 compels the platforms to disclose their methods and algorithms, it




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will be too late to stop bad actors such as scammers, predators, and criminals from evading the

platforms’ safeguards—even if the Court later finds H.B. 20 unconstitutional. Ex. C ¶ 57; Ex. D

¶ 32.

        Thus, if allowed to go into force against Plaintiffs’ members, H.B. 20 would threaten mon-

umental changes to the way online platforms work. Covered platforms that engage in less moder-

ation will be less hospitable to their users and advertisers—who enjoy the platforms, and pay to

place advertisements on the platforms, in part because the platforms prohibit harmful and objec-

tionable conduct. Ex. B ¶¶ 9-10, 16-18, 23; Ex. C ¶¶ 17, 50, 61-62; Ex. D ¶¶ 8, 35. The loss of

those users and advertisers will likewise irreparably harm covered platforms. Florida Business-

men, Etc. v. City of Hollywood, 648 F.2d 956, 958 (5th Cir. 1981). For similar reasons, H.B. 20

will harm covered platforms’ goodwill. Denbra IP Holdings, LLC v. Thornton, 2021 WL 674238,

at *8 (E.D. Tex. Feb. 22, 2021) (“Grounds for irreparable injury include loss of control of reputa-

tion, loss of trade, and loss of goodwill.”) (quoting Emerald City Mgmt., L.L.C. v. Kahn, 624 F.

App’x 223, 224 (5th Cir. 2015)). In addition, H.B. 20 would impose both (1) direct costs inherent

in changing the covered platforms’ entire business model; and (2) difficult to measure costs from

the harm arising from less moderation of harmful content. Ex. A ¶¶ 40-47; Ex. B ¶¶ 23-24. These

economic and operational injuries are irreparable. E.g., Alabama Ass’n of Realtors v. Dep’t of

Health & Human Services, No. 21A23, 2021 WL 3783142, at *4 (U.S. Aug. 26, 2021) (financial

costs “with no guarantee of eventual recovery” are irreparable injury); Morales v. Trans World

Airlines, Inc., 504 U.S. 374, 381 (1992) (“irreparable injury” where “clear that [states] would seek

to enforce” law and plaintiffs faced “Hobson’s choice” of “expos[ing] themselves to potentially

huge liability” or “suffer[ing] the injury of obeying” preempted law); Florida Businessmen, 648




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F.2d at 958 nn.2, 3. And it will require them to disclose non-public, competitively sensitive infor-

mation (particularly about their algorithms), which risks irreparable harm. Ex. C ¶ 57; Ex. D ¶ 32.

       The irreparable harm to Plaintiffs’ members from permitting H.B. 20’s enforcement far

outweighs any harm to the state from an injunction. NetChoice, 2021 WL 2690876, at *11 (“The

threatened injury outweighs whatever damage the injunction may cause the State.”). Ex. A ¶¶ 39-

47; Ex. B ¶¶ 23-24; Ex. C ¶¶ 61-62; Ex. D ¶¶ 21-35. Texas lacks a sufficient interest for H.B. 20

(see supra pp.31-34), so the state will not be harmed if this unconstitutional and preempted law is

enjoined. See Texans for Free Enter., 732 F.3d at 539 (state actors not harmed when they cannot

enforce laws for which they lack a sufficient interest under the First Amendment).

       Finally, allowing Plaintiffs’ members to exercise their First Amendment rights as they have

for years is in the public interest. NetChoice, 2021 WL 2690876, at *11 (“[T]he injunction will

serve, not be adverse to, the public interest.”). As the Fifth Circuit has held, “‘injunctions protect-

ing First Amendment freedoms are always in the public interest.’” Texans for Free Enter., 732

F.3d at 539 (quoting Christian Legal Soc’y v. Walker, 453 F.3d 853, 859 (7th Cir. 2006)). And

here, the platforms’ continued moderation will benefit users and the public more broadly. Ex. E

¶¶ 6-14 (harmful effects on the LGBTQ community); Ex. F ¶ 8-16 (efforts to curtail CSAM).

                                          CONCLUSION
       Plaintiffs respectfully request that this Court preliminarily enjoin the Texas Attorney Gen-

eral from enforcing Sections 2 and 7 of H.B. 20 against Plaintiffs and their members.




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Dated: September 30, 2021                        Respectfully submitted,

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*Motion for admission pro hac vice forthcoming
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                               CERTIFICATE OF SERVICE

       By agreement of counsel, I served this document and accompanying exhibits on counsel

for Defendant on September 30, 2021, by email to the following addresses:

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                                                   /s/ Todd Disher
                                                   Todd Disher

                            CERTIFICATE OF CONFERENCE

       I conferred with counsel for Defendant regarding this motion. Defendant is opposed to

this motion.

                                                   /s/ Todd Disher
                                                   Todd Disher
